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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                 District District
                                             __________   of Massachusetts
                                                                   of __________


                         D.V.D. et al.,                         )
                             Plaintiff                          )
                                v.                              )      Case No.    1:25-cv-10676
        Department of Homeland Security et al.,                 )
                            Defendant                           )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          all Defendants.                                                                                              .


Date:          04/25/2025                                                               /s/ Jonathan Guynn
                                                                                         Attorney’s signature


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